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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        CV 18-10232-CJC (SSx)                                                                        Date      November 5, 2020
 Title:          Sid Avery and Associates, Inc. v. Pixels.com, LLC

 Present: The Honorable           CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                           Cheryl Wynn                                                                    Debbie Hino-Spaan
                           Deputy Clerk                                                                  Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                 Attorneys Present for Defendants:
Jonah Grossbardt; Joel B. Rothman                                               Bruce Paul; Mari-Elise Paul; Jay Woollacott

            X                Day Court Trial                                                Day Jury Trial
                                                                                              X
                                               st
           One day trial:           Begun (1 day);               Held & Continued;                   Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
 ✔    Witnesses called, sworn and testified.          ✔   Exhibits Identified         ✔     Exhibits admitted.

      Plaintiff(s) rest.                              ✔ Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                    defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
 ✔    Filed Witness & Exhibit Lists                       Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
 ✔ Case submitted.               ✔ Briefs to be filed by Plaintiff brief 12/1; Defendant brief 12/22; Plaintiff reply 12/29
      Motion to dismiss by                                                 is      granted.        denied.            submitted.
      Motion for mistrial by                                                     is               granted.           denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is               granted.           denied.           submitted.
      Settlement reached and placed on the record.
 ✔    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                       for further trial/further jury deliberation.
 ✔    Other: Closing Briefs are limited to 35 pages. Reply limited to 15 pages


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                                                                                Initials of Deputy Clerk                        cw
cc:


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